                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                               Plaintiffs,

v.                                                                  No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                               Defendant.



CALLA WRIGHT, et al.,

                               Plaintiffs,

v.                                                                  No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                               Defendants.

______________________________________________________________________________

 DECLARATION OF ALLISON J. RIGGS IN SUPPORT OF PLAINTIFFS’ PETITION FOR
                 ATTORNEYS’ FEES AND NON-TAXABLE COSTS
______________________________________________________________________________


        I, Allison J. Riggs, declare under penalty of perjury that the following is true and correct:

     1. I am over the age of 18 years and competent to testify herein. I have personal knowledge

        of the matters stated herein. I submit this declaration in support of Plaintiffs’ Petition for

        Attorneys’ Fees and Non-Taxable Costs.




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2. I am a senior staff attorney at the Southern Coalition for Social Justice in Durham, NC.

   My organization was retained to represent Plaintiffs in above-titled actions. I have been

   responsible for assembling all the data and records relevant to establishing the costs

   incurred by Plaintiffs in the course of litigating the two above-captioned cases.

3. I prepared the Bill of Taxable Costs submitted pursuant to Rule 54(d) of the Federal

   Rules of Civil Procedure, 28 U.S.C. § 1920, and Local Rule 54.1 of the Eastern District

   of North Carolina, which is being filed today, separate from the Petition for Attorneys’

   Fees and Non-Taxable Costs. I also prepared the Bill of Taxable Costs submitted to the

   Fourth Circuit Court of Appeals.

4. The Fourth Circuit Court of Appeals has already added appellate taxable costs in the

   amount $2,689.00 to the mandate issued in these consolidated cases.

5. In preparing our costs and expenses reports, I reviewed and assembled records from

   contemporaneous, documented expense records regularly prepared and maintained by the

   Southern Coalition for Social Justice in the regular course of business.

6. Attached as Exhibit A to my declaration is a chart detailing the costs and expenses

   incurred during the course of the litigation. The total amount of costs incurred was

   $56,831.34. The costs are broken down by category, and include a description for each

   cost item.

7. Attached as Exhibit B are the records pertaining to the expert work performed by Dr.

   Jowei Chen, including the development of his report and his testimony at trial..

8. Attached as Exhibit C are the records pertaining to the expert work performed by

   Anthony Fairfax, including the development of his report and his testimony at trial. It is

   Mr. Fairfax’s billing practice that he performs work at the hourly rate until his



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       engagement fee (outlined in the attached retainer agreement) is exhausted. He then

       completes the project, and only charges for any additional time spent after the exhaustion

       of the engagement fee if that time was substantial. In this case, for the development of

       his report, Mr. Fairfax did not charge us for any time spent beyond what the engagement

       fee covered.

   9. Plaintiffs seek recovery of $9,057.68 in taxable costs reasonably and necessarily incurred

       in the prosecution of this case, including the $2,689.00 already awarded by the Fourth

       Circuit Court of Appeals. Thus, we seek the difference--$6,367.88—as taxable costs in

       the District Court.

   10. Plaintiffs seek the rest of the amount—$47,773.66—as reasonable non-taxable costs

       and/or litigation expenses necessary to the successful outcome in this litigation.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



   Dated: November 23, 2016.


                                               ____/s/ Allison J. Riggs____________
                                              Allison J. Riggs
                                              N.C. State Bar No. 40028
                                              Southern Coalition for Social Justice
                                              1415 West Highway 54, Suite 101
                                              Durham, NC 27707
                                              Telephone: 919-323-3380
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RWCA/Wright Expenses
                                                                                                               Appellate Bill of Costs ‐   District Court Bill of District Court Non‐
Category                 Description                                                 Date         Amount       Awarded                     Costs ‐ Sought         Taxable Costs Sought
Filing Fees
                         Wright filing fee‐ complaint                                 8/22/2013     $400.00                                $400.00 sought
                         Wright filing fee‐ notice of appeal                           4/7/2014     $505.00 $500.00 awarded                $5.00 sought
                         RWCA filing fee ‐ complaint                                   4/7/2015     $400.00                                $400.00 sought
                         RWCA filing fee ‐ notice of appeal                           3/14/2016     $505.00 $500.00 awarded                $5.00 sought
                         Wright filing fee ‐ notice of appeal                         3/14/2016     $505.00 $500.oo awarded                $5.00 sought

Appeals Printing Costs
                         Wright ‐ opening brief and joint appendix                    5/23/2014    $1,074.44   $172.50 + $150.00 awarded                                          $751.94
                         Wright ‐ reply brief                                         7/17/2014      $486.21   $55.50 awarded                                                     $430.71
                         RWCA/Wright ‐ opening brief and joint appendix               4/15/2016    $4,970.00   $66.00 + $722.40 awarded                                         $4,181.60
                         RWCA/Wright ‐ reply brief                                    4/29/2016      $542.33   $23.40 awarded                                                     $518.93

Transcript Costs
                         Transcription/Copy of 4/17/13 hearing on SB 325,
                         Transcription/Copy of 3/5/15 hearing on SB 181,
                         Transcription/Copy of 3/10/15 hearing on SB 181              1/31/2016    $1,041.75                               $1,041.75 sought
                         Transcription/Copy of 6/10/13 hearing on SB 325,
                         Transcription/Copy of 4/1/15 hearing on SB 181,
                         Transcription/Copy of 3/12/15 hearing on SB 181,
                         Transcription/Copy of 4/22/13 hearing on SB 325,
                         Transcription/Copy of 3/11/15 hearing on SB 181              1/31/2016    $1,738.08                               $1,738.08 sought
                         Transcript from RWCA/Wright Trial Dec. 2015                   2/3/2016    $1,668.05                               $1,668.05 sought
                         Transcript from RWCA/Wright Remedy Hearing                    8/2/2016    $1,105.00                               $1,105.00 sought

Contracted Services
                         Expert fees/costs ‐ Jowei Chen ‐ report                     12/31/2015 $20,000.00                                                                    $20,000.00
                         Expert fees/costs ‐ Jowei Chen ‐ trial testimony            12/26/2015 $7,413.42                                                                      $7,413.42
                         Expert fees/costs ‐ Anthony Fairfax ‐ retainer               11/6/2015 $2,000.00                                                                      $2,000.00
                         Expert fees/costs ‐ Anthony Fairfax ‐ final bill             5/16/2016 $3,400.00                                                                      $3,400.00
                         Contract Paralegal Trial Support ‐ Shannon Christian ‐half
                         week starting 12/2/15                                        1/31/2016 $1,278.17                                                                      $1,278.17
                         Contract Paralegal Trial Support ‐ Shannon Christian ‐week
                         of 12/7/15                                                  12/13/2015 $1,429.68                                                                      $1,429.68
                         Contract Paralegal Trial Support ‐ Shannon Christian ‐ week
                         of 12/14/15                                                 12/22/2015 $1,802.84                                                                      $1,802.84

Travel Costs
                         Mileage for Earls Travel to Elizabeth City for Wright MTD
                         oral argument ‐ reimbursement                                2/27/2014     $211.68                                                                      $211.68



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Mileage for Riggs travel to Richmond for Wright oral
argument ‐ reimbursement                                      12/15/2014   $150.10   $150.10
Mileage for Earls travel to Richmond for Wright oral
argument ‐ reimbursement                                      12/19/2014   $213.64   $213.64
Lunch for Riggs in Richmond ‐ Riggs CC                        12/10/2014     $6.10     $6.10
Hotel Bill ‐ Refreshments ‐ Wright Oral Argument ‐ Riggs
CC                                                            12/10/2014     $4.43     $4.43
Dinner for Earls/Riggs in Richmond night before oral
argument ‐ Earls CC                                            12/9/2014    $51.96    $51.96

Hotel Bill ‐ Lodging ‐ Wright Oral Argument ‐ Riggs CC        12/11/2014   $146.43   $146.43

Hotel Bill ‐ Lodging ‐ Wright Oral Argument ‐ Earls CC        12/11/2014   $146.43   $146.43
Hotel Bill ‐ Refreshments ‐ Wright Oral Argument ‐ Riggs
CC                                                            12/11/2014    $14.19    $14.19

Hotel Bill ‐ Breakfast for Earls/Riggs in Richmond ‐ Riggs CC 12/11/2014    $17.40    $17.40
Valet at hotel to handle luggage and park car ‐ Earls
Reimbursement                                                  12/9/2014    $10.00    $10.00
Valet at hotel to handle luggage and park car ‐ Earls
Reimbursement                                                 12/10/2014    $10.00    $10.00
Maid service gratuity ‐ Earls Reimbursement                   12/10/2014    $10.00    $10.00
Parking ‐ Earls ‐ in Richmond for Wright Oral argument ‐
Earls CC                                                       12/9/2014     $9.00     $9.00

Refreshments ‐ Riggs/Earls ‐ after oral argument ‐ Earls CC   12/10/2014    $11.36    $11.36
Parking ‐ Witness Deposition Prep ‐ Riggs CC                  10/20/2015     $6.00     $6.00
Parking ‐ Witness Deposition Prep ‐ Riggs CC                  10/20/2015     $1.25     $1.25
Parking ‐ Witness Deposition Prep ‐ Riggs CC                  10/28/2015     $4.00     $4.00
Parking ‐ Witness Deposition Prep ‐ Riggs CC                  12/10/2015     $6.00     $6.00
Parking ‐ Witness Deposition Prep ‐ Earls CC                  12/10/2015     $4.00     $4.00
Mileage for travel to witness prep meeting ‐ Eppsteiner
reimbursement                                                 12/14/2015    $27.60    $27.60
Mileage for travel to witness prep meeting ‐ Eppsteiner
reimbursement                                                 12/15/2015    $20.70    $20.70
Parking during trial ‐ Earls CC                               12/16/2015    $12.00    $12.00

Mileage for travel to trial ‐ Eppsteiner reimbursement        12/16/2015    $27.60    $27.60
Parking during trial ‐ Earls CC                               12/17/2015    $12.00    $12.00

Mileage for travel to trial ‐ Eppsteiner reimbursement        12/17/2015    $27.60    $27.60

Mileage for travel to trial ‐ Eppsteiner reimbursement        12/18/2015    $27.60    $27.60
Parking during trial ‐ Fred McBride reimbursement             12/22/2015    $24.00    $24.00



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                         Mileage for travel to trial ‐ Fred McBride ‐ reimbursement   12/22/2015      $48.30                               $48.30
                         Mileage for Eppsteiner travel to Richmond for
                         RWCA/Wright oral argument ‐ reimbursement                     5/13/2016     $185.15                              $185.15
                         Parking and meals for travel to Richmond for
                         RWCA/Wright oral argument ‐ Eppsteiner CC                     5/10/2016      $60.89                               $60.89
                         Mileage for Earls/Riggs travel to Richmond for
                         RWCA/Wright oral argument ‐ reimbursement                     6/11/2016     $185.15                              $185.15

                         Dinner for Earls/Riggs in Richmond (5/8/16) ‐ Earls CC        6/11/2016      $47.24                               $47.24
                         Hotel for Earls/Riggs in Richmand for RWCA/Wright oral
                         argument ‐ Earls CC                                           6/11/2016     $297.92                              $297.92
                         Breakfast for Riggs in Richmond ‐ Riggs CC                     5/9/2016       $9.18                                $9.18
                         Lunch for Earls/Riggs in Richmond ‐ Riggs CC                   5/9/2016      $23.21                               $23.21

Other Litigation Costs
                         Office Depot ‐ trial supplies (exhibit notebooks)‐ Bethan
                         Eynon CC                                                      12/4/2015     $706.09                              $706.09
                         Office Depot ‐ trial supplies ‐ Riggs CC                      12/7/2015      $83.39                               $83.39
                         Office Depot ‐ trial supplies ‐ Earls CC                      12/8/2015     $317.13                              $317.13

                         Office Depot ‐ trial supplies ‐ Kathleen Lockwood CC         12/11/2016     $245.91                              $245.91
                         FedEx Office ‐ trial demonstratives ‐ Riggs CC               12/13/2015     $233.81                              $233.81
                         Office Depot ‐ trial suppolies ‐ Earls CC                    12/13/2015     $300.27                              $300.27
                         Staples ‐ trial supplies ‐ Bethan Eynon CC                   12/14/2016     $144.68                              $144.68
                         Food for Eppsteiner/witness during trial prep ‐ Manhattan
                         Café ‐ Eppsteiner CC                                         12/14/2016      $10.67                               $10.67

                         Food for team during trial prep ‐ Randys Pizza ‐ Riggs CC    12/14/2015      $22.52                               $22.52
                         Food for team during trial ‐ Neomonde ‐ Riggs CC             12/15/2015      $53.19                               $53.19

                         Food for team during trial ‐ Sawasdee Thai ‐ Riggs CC        12/16/2015      $95.58                               $95.58
                         Food for team during trial ‐ Jimmy Johns ‐ Riggs CC          12/16/2015     $100.75                              $100.75
                         Food for team during trial ‐ Jimmy Johns ‐ Riggs CC          12/17/2015     $101.75                              $101.75

                         Food for team during trial ‐ Bella Monica ‐ Eppsteiner CC    12/17/2015      $80.52                               $80.52

TOTAL                                                                                              $56,831.34   $2,689.80   $6,367.88   $47,773.66




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